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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                  CASE NO. 1:12-cv-22282-WJZ

  KARLA VANESSA ARCIA, an individual,
  MELANDE ANTOINE, an individual,
  VEYEYO, a civic organization based in
  Miami-Dade County, FLORIDA
  IMMIGRANT COALITION, INC., a
  Florida non-profit corporation, NATIONAL
  CONGRESS FOR PUERTO RICAN
  RIGHTS, a Pennsylvania non-profit
  corporation, FLORIDA NEW MAJORITY,
  INC., a Florida non-profit corporation, and
  119SEIU UNITED HEALTHCARE
  WORKERS EAST, a Labor Union,

         Plaintiffs,

                         v.

  KEN DETZNER, in his official capacity as
  Florida Secretary of State,

         Defendant.

      STIPULATION OF DISMISSAL AS TO COUNTS I, II AND PART OF COUNT IV OF
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

          The parties, pursuant to Federal Rule of Civil Procedure 41(a), stipulate and have agreed

  that Counts I, II and IV (except to the extent it seeks relief as to the claim in Count III) of

  Plaintiffs’ Complaint for Declaratory and Injunctive Relief (ECF No. 1) 1 are resolved and that

  these counts are hereby dismissed with prejudice.

  Date: September 12, 2012

  Respectfully submitted,




  1
   Although leave has been granted to file an amended complaint, such a complaint has not yet
  been filed. See (ECF No. 46).
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  For the Plaintiffs:

  /s/ Marc A. Goldman_____________           /s/ Katherine Roberson-Young__________
  Lorelie S. Masters                         Katherine Roberson-Young
  Marc A. Goldman                            Service Employees International Union
  Jenner & Block LLP                         4600 Sheridan Street, Suite 200
  1099 New York Avenue, NW, Suite 900        Hollywood, Florida 33021
  Washington, DC 20001                       Katherine.roberson-young@seiu.org
  lmasters@jenner.com                        (305) 571-4082
  mgoldman@jenenr.com                        (305) 571-1396 (fax)
  (202) 639-6000
  (202) 639-6066 (fax)                       Counsel for Plaintiff 1199SEIU United
                                             Healthcare Workers East


  Penda Hair                                 John De León
  Katherine Culliton-Gonzalez                Law Offices of Chavez & De Leon, P.A.
  Uzoma Nkwonta                              5975 Sunset Drive, Suite 605
  Advancement Project                        South Miami, FL 33143
  1220 L Street, N.W., Suite 850             jdeleon@chavez-deleon.com
  Washington, D.C. 20005                     (305) 740-5347
  pendahair@advancementproject.org           (305) 740-5348 (fax)
  kcullitongonzalez@advancementproject.org
  UzomaNkownta@advancementproject.org
  (202) 728-9557                             Counsel for Plaintiffs Arcia, Antoine,
  (202) 728-9558 (fax)                       VEYEYO, Florida Immigrant Coalition, Inc.,
                                             National Congress for Puerto Rican Rights,
                                             and Florida New Majority, Inc.
  Catherine M. Flanagan
  Project Vote
  1350 I Street, N.W., Suite 1250
  Washington, DC 20005
  cflanagan@projectvote.org
  (202) 546-4173
  (202) 629-3754 (fax)

  Ben Hovland
  Fair Elections Legal Network
  1825 K Street NW, Suite 450
  Washington, D.C. 20006
  bhovland@fairelectionsnetwork.com
  (202) 248-5346
  (202) 331-1663 (fax)
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  Juan Cartegena
  Jose Perez
  Diana S. Sen
  LatinoJustice PRLDEF
  99 Hudson Street, 14th Floor
  New York, NY 10013-2815
  jcartegena@latinojustice.org
  jperez@latinojustice.org
  dsen@latinojustice.org
  (212) 219-3360
  (212) 431-4276 (fax)

  Counsel for Plaintiffs


  For the Defendants:

  /s/ Daniel Nordby_____________
  Daniel E. Nordby
  General Counsel
  Florida Bar No. 14588
  Ashley E. Davis
  Assistant General Counsel
  Florida Bar No. 48032
  Florida Department of State
  R. A. Gray Building
  500 South Bronough Street
  Tallahassee, FL 32399-0250
  daniel.nordby@dos.myflorida.com
  ashley.davis@dos.myflorida.com

  (850) 245-6536
  (850) 245-6127 (fax)

  Counsel for Defendant
  Kenneth W. Detzner
  Florida Secretary of State
